RECORDS RETENTION
09/08/2022




                        Records Retention



                               Overview
      The following summary covers the general principles and guidelines
concerning Records Retention. This document is presented in a “frequently
asked questions” (FAQ) format.




      To facilitate your use of this document, links within the document will
direct your attention to text within the document and to related documents
posted on the Louisiana Legislative Auditor’s website and on external
websites. For example, in the Index, clicking the question number will link
directly to the corresponding text. Within the FAQ, links will connect to other
areas of the FAQ and to relevant external documents.           Clicking on the
individual question number within the text will activate a link to return to the
index for selection of another question.




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Q.1.   What is a Public Record?
                                                                       R.S. 44:1(A)(2)(a)

A.1.   A public record is documentary material, regardless of physical format, which is
       prepared, used or retained by a public entity in connection with regular agency
       business under the laws of this State.

       Public record is defined by statute as “All documents, papers, letters, books,
       drawings, maps, plats, photographs, magnetic or optical media, microfilm,
       microphotograph, motion picture film, or other document or any other material,
       regardless of physical form or characteristic, generated or received under law or in
       connection with the transaction of official business, or preserved by an agency or
       political subdivision because of other informational or legal value.” R.S. 44:402(4).
       For more information, Click here for the Public Records FAQ on the LLA website.

Q.2.   Who has a duty to preserve public records?                              R.S. 44:36

A.2.   All persons and public bodies having custody or control of any public record, other
       than conveyance, probate, mortgage, or other permanent records required by
       existing law to be kept for all time, shall exercise diligence and care in preserving
       public record for the period or periods of time specified for such public records in
       formal records retention schedules developed and approved by the State Archivist
       and Director of the Division of Archives, Records Management, and History of the
       Department of State.

       For the purposes of the Public Records law, “agency” is defined as “any state,
       parish and municipal office, department, division, board, bureau, commission,
       authority, or other separate unit of state, parish, or municipal government created
       or established by the constitution, law, resolution, proclamation, or ordinance.”
       R.S. 44:402(5).

Q.3.   What agency is charged with overseeing the approval of the record retention
       schedules of state and local entities?

A.3    The Secretary of State.

Q.4.   How is a formal retention schedule created?

A.4.   An agency or public body should contact the Secretary of State’s Office or visit
       www.sos.la.gov to establish a formal retention schedule regarding the agency or
       body’s individual records.




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Q.5.   How long must a public record be preserved?                  R.S. 44:36(A) & (B)

A.5.   All agencies, as defined in R.S. 44:402(5), (See Q.2) shall keep all records for the
       period of time specified in the retention schedule approved by the State
       Archivist/Director of Archives.

       The record retention period primarily depends on whether the law specifies a
       particular time period for which the record must be kept as well as the nature of the
       record and its value to the day-to-day operation of the agency or to the preservation
       of the institutional memory of the agency. Public records are either permanent or
       non-permanent. Non-permanent records may be long-term, short-term, or
       transitory.

       In all instances where the law does not specify a particular period that the record
       must be kept, public records must be preserved for a period of at least 3 years from
       the date they were created, except when an agency has an approved retention
       schedule.

Q.6    How often should a retention schedule be renewed?

A.6.   At least every (5) five years, but it should be amended or updated to reflect the
       current record series created and maintained by the agency.

Q.7.   What is a record series?

A.7.   A records series is a group of records that serve a similar function in the agency
       and are usually filed as a unit. These records are normally evaluated as a unit when
       researching and writing the records retention schedule.

Q.8.   How long must a record be kept?

A.8.   How long a record must be kept depends on the nature of the record and its value
       to the agency. Records are either permanent or non-permanent.




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Q.9.   What is a permanent record?

A.9.   A permanent record is one that will never be destroyed. These records should be
       preserved for administrative, historical or other research purposes. Examples of
       permanent records include, but are not limited to:

           •   Minutes of Meetings                   • Financial Journals
           •   Oaths of Office                       • Legislative Bills
           •   Penitentiary Records                  • Policy Memoranda
           •   Legislative Acts                      • Records over 50 years old
           •   Old Photographs of historic value

Q.10. What is a non-permanent record?

A.10. Non-permanent records possess temporary value to the day-to-day operation of the
      agency or to the preservation of the institutional memory of that agency. How long
      records retain their value to the agency will determine whether these records are
      characterized as long-term, short-term, or transitory records.

       Examples of some records that typically become unnecessary over time are:

           •   Invoices                              • Accounts Payable
           •   Canceled Checks                       • General Correspondence
           •   Bank Statements                       • General Memoranda
Q.11. What is a long-term record?

A.11. A long-term record is a non-permanent record with a total retention requirement of
      over 10 years but less than permanent.

Q.12. What is a short-term record?

A.12. A short-term record is a non-permanent record with a total retention requirement of
      10 years or less.

Q.13. What are transitory records?

A.13. Transitory records are non-permanent records that have limited or no administrative
      value to the agency and are not essential to the fulfillment of statutory obligations
      or to the documentation of agency functions. They are not considered public records
      and therefore may be immediately destroyed. Examples of transitory records are
      sticky notes or any writing that is temporary, unnecessary, and of no value.

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Q.14. Can documents be kept electronically rather than in their original format?

A.14. Some documents may be kept electronically under an imaging exception granted
      by the Secretary of State.

       The imaging exception allows original documents that are short term records to be
       destroyed immediately after scanning or imaging. The scanned or imaged hard copy
       becomes the Digital Original. Agencies may use imaging without maintaining the
       original or a microfilm copy of the original short-term record provided that (1) the
       record series has been included on the agency’s retention schedule approved by the
       State Archivist; (2) a quality control inspection of the images is conducted prior to
       the destruction of the original source documents to ensure visibility and
       accessibility; and (3) the proper approval has been secured by the State Archives
       prior to the destruction of the original source documents.

Q.15. May imaging be used for long-term and permanent/archival records?
                                                                   R.S. 44:410

A.15. Pursuant to R.S. 44:410, agencies utilizing imaging for the creation and
      maintenance of long term and/or archival records may use imaging for
      administrative purpose provided that, for preservation purposes, the agency either
      (1) maintains the original source documents for the retention period listed on the
      agency’s retention schedule; or (2) produces a microfilm back up of the records and
      stores the microfilm with the State Archives.

Q.16. How long is an imaging exception valid?

A.16. It must be renewed at least every (5) five years.

Q.17. What is a legal hold?

A.17. A legal hold requires an agency to not destroy their records. They are usually placed
      on an agency in cases of potential or ongoing litigation.

Q.18. What is the purpose of a records disposition or destruction policy?

A.18. A records disposition policy is designed to ensure that necessary records and
      documents are adequately protected and maintained. A disposition policy should
      be designed to (1) ensure records that have not met their minimum retention period
      are not accidentally destroyed; (2) protect records that have satisfied their minimum
      retention but are needed for other purposes, such as litigation or investigation; (3)
      control the creation and duplication of records; and (4) create economic benefit by
      freeing up valuable office space that otherwise might be used for storage of records
      that are no longer useful to the agency.


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       A records destruction policy will set forth the procedures to destroy records when
       required to ensure proper document accountability.

Q.19. Are there generally accepted principles for records disposition?

A.19. ARMA International (formerly known as the Association of Records Managers and
      Administrators) www.arma.org establishes Generally Accepted Recordkeeping
      Principles (GARP). Under GARP, best practices for records disposition include,
      but are not limited to, (1) that the destruction of records occurs in the normal course
      of business and (2) the agency does not retain records after the retention period has
      expired and destruction approval is received.

Q.20. What are the processes and the authorizations needed for the destruction of
      records?                                                     R.S.44:36(A)

A.20. Two levels of authorization are required for the destruction of records: (1) an
      internal authorization through the agency’s internal approval process and (2) a
      formal destruction authorization from the State Archivist, pursuant to an approved
      records retention schedule, together with completion of a records destruction
      certificate.

       Each organization is required to name a records officer who is made responsible
       for the process. The agency’s records officer gives the final internal approval for
       destruction.

       After internal approval for destruction has been made, a disposal request is sent to
       the State Archivist. Once a disposal request has been received by the State
       Archivist, the agency will be notified within 30 days of receipt that their disposal
       request (1) has been approved; (2) has been denied with an explanation; (3) contains
       records that should be transferred to the State Archives for possible inclusion; or
       (4) requires an additional 30 days to review.

       Public records may not be destroyed without approval from the State Archivist.




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